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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF LOUISIANA

    IN RE: FEMA                                                                      MDL NO. 1873
    FORMALDEHYDE
    PRODUCT LIABILITY LITIGATION                                                   SECTION “N-5"

                                                                           JUDGE ENGELHARDT

                                                                           MAG. JUDGE CHASEZ

    THIS DOCUMENT IS RELATED TO:
    Kenneth E. Dixon, et al v Keystone
    Industries, Inc., et al., Case No. 2:10-cv-907
    ______________________________________________________________________________

                                       ORDER
    ______________________________________________________________________________

            Considering the foregoing Second Motion of Plaintiffs, Plaintiffs are allowed until

    August 2nd, 2010 or until __________________, 2010, to serve the Defendants.

            IT IS SO ORDERED that the Plaintiffs listed above be GRANTED the Second Motion

Hellofor Extension
       This is a Testof Time to Serve.
            DATED this22nd             June
                       ____ day of _______________, 2010 in New Orleans, Louisiana.



                                                 By:     ____________________________________
                                                         KURT D. ENGELHARDT
                                                         UNITED STATES DISTRICT JUDGE


    Submitted By:
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